  Case 16-20253       Doc 31  Filed 06/28/18 Entered 06/29/18 09:03:20                  Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                       )   BK No.:     16-20253
 Gina M Lockhart                                             )
                                                             )   Chapter: 13
                                                             )
                                                                 Honorable Donald R. Cassling
                                                             )
                                                             )
                                    Debtor(s)                )
                                                             )   Adv. No.:
                                                             )
                                                             )
                                    Plaintiff(s)
                                                             )
                                                             )
                                                             )
                                    Defendant(s)             )

                ORDER MODIFYING DEBTOR'S PLAN POST-CONFIRMATION

       THIS MATTER coming to be heard on the Debtor's MOTION TO MODIFY PLAN; the Court
being advised in the premises; with due notice having been given to all parties in interest;

   IT IS HEREBY ORDERED:

   Debtor's current Chapter 13 Plan is modified post-confirmation to defer the current trustee default to
the end of the Plan.




                                                          Enter:


                                                                     Honorable Donald R. Cassling

Dated: June 28, 2018                                                 United States Bankruptcy Judge

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